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                        IN THE UNITED ST ATES DISTRICT COURT
                            DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION


Matthew Heath,                         )
                                       )
               Plaintiff,              )               C.A. No. 2:17-1792-RMG
                                       )
       vs .                            )
                                       )
College of Charleston, et al.,         )
                                       )
               Defendants.             )               ORDER
                                       )


       This matter comes before the Court on Plaintiffs motion to restore this case to the trial

docket and to compel the production of certain discovery Plaintiff asserts is relevant to his claim.

(Dkt. Nos. 104, 105). Defendants oppose both motions. The Court heard oral argument on these

motions on March 4, 2019.

       The Court was advised in early November 2018 that the parties had reached a settlement,

conditioned on a forensic examination of certain communication devices to determine whether

representations made by Defendant Matt Roberts in a sworn affidavit were truthful. (Dkt. Nos.

96-2, 96-3). Defendant Roberts stated in an affidavit that he did not communicate with the

future baseball coach of the College of Charleston, Chad Holbrook, between January 1, 2017 and

July 1, 2017 "in any regard" concerning the possibility that the incumbent baseball coach,

Matthew Heath, might be replaced or whether Holbrook might be interested in the head coaching

position at the College of Charleston. (Dkt. No. 96-3).

       The Court entered a Rubin order on November 2, 2018, which dismissed the case but

allowed either party to restore the case to the docket within sixty days . (Dkt. No. 95). At the

parties' request, a second Rubin order was entered on January 2, 2019. (Dkt. No. 103).


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Plaintiffs effort to conduct a forensic examination of Defendant Robert's phone revealed that

data from the relevant time period had been deleted because the phone was programmed to retain

messages for only thirty days. (Dkt. No. 101-2 at 3).

        Plaintiff subsequently obtained a forensic examination of Holbrook's cell phone, which

revealed that he had informed his father during the time period in which Defendant Roberts

asserted he had no communications with Holbrook as follows: "Don't say anything but Matt

Roberts really want [sic] me to come be his baseball coach at the College of Charleston. I'm

thinking about it strongly. Please don't say anything." (Dkt. No. 101-2 at 4).

        Plaintiff now seeks to restore this action to the active docket and to compel the

production of certain discovery that he asserts is relevant to his claims against the Defendants.

The Defendants oppose the motion to reopen the case. The Court's Rubin order plainly allows

either party "to reopen this action and restore it to the calendar." (Dkt. No. 95). The motion to

reopen the case is granted. (Dkt. No. 105).

       The Court further finds that under the present circumstances, further forensic examination

potentially relevant to this case is warranted.   The Court grants Plaintiffs motion to compel as

follows:

        1.     Defendants are to make available to Plaintiffs forensic examiner the "second

               hard drive" of Defendant Roberts within fifteen days of this order. The

               examination may fully explore the full contents of the hard drive as deemed

               necessary by Plaintiffs forensic examiner and such examination may be

                conducted away from the College of Charleston.

        2.     Plaintiffs forensic examiner may examine the computer, phone, tablet, or

               other electronic device of Holbrook covering the time relevant to this case.



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       3.      Plaintiffs forensic examiner may inspect the College of Charleston' s email

               server regarding any communications between Defendant Roberts and

               Holbrook during the relevant time period.

       Any person reviewing the content of the material ordered to be produced pursuant to this

order must be shown the Court' s Confidentiality Order (Dkt. No. 67) and sign a statement stating

his or her awareness of the obligations of confidentiality contained in the order. By separate

order, the Court will issue a new scheduling order.

       AND IT IS SO ORDERED.




                                                             United States District Judge


March  '1,2019
Charleston, South Carolina




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